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                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF LOUISIANA


 JANE DOE                        §
                                 §                    CIVIL ACTION NO. 3:22-CV-00338
                                 §
 VERSUS                          §
                                 §
 BOARD OF SUPERVISORS OF THE     §
 UNIVERSITY OF LOUISIANA SYSTEM, §                    JUDGE BRIAN A. JACKSON
 et al.,                         §
                                 §
                                 §
                                 §
                                 §                    MAGISTRATE JUDGE
                                 §                    SCOTT D. JOHNSON
                                 §
                                 §
                                 §



     MOTION TO DISMISS PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE
     12(b)(1) FOR LACK OF SUBJECT MATTER JURISDICTION ON BEHALF OF THE
           BOARD OF SUPERVISORS OF LOUISIANA STATE UNIVERSITY AND
                    AGRICULTURAL AND MECHANICAL COLLEGE


        NOW INTO COURT, through undersigned counsel, comes Defendant Board of

Supervisors of Louisiana State University and Agricultural and Mechanical College (“Defendant”

or “LSU”) who moves this Court to dismiss Plaintiff’s lawsuit pursuant to Federal Rule of Civil

Procedure 12(b)(1) for lack of subject matter jurisdiction. In support of this request, Defendant

states as follows:

1.      Plaintiff, Jane Doe, (“Plaintiff” or “Doe”) filed suit against LSU on May 25, 2022.

2.      Plaintiff has only alleged a state law negligence claim against LSU.

3.      LSU is an arm of the State of Louisiana. Raj v. Louisiana State Univ., 714 F.3d 322, 328

(5th Cir. 2013).


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4.     As an arm of the State, LSU “is immune from suit [in federal court] under the Eleventh

Amendment.” Raj v. Louisiana State Univ., 714 F.3d 322, 328 (5th Cir. 2013); see also Holliday

v. Bd. of Sup'rs of LSU Agr. & Mech. Coll., 2014-0585 (La. 10/15/14), 149 So. 3d 227, 229 (“While

Louisiana may have waived sovereign immunity with respect to some claims [pursuant to La.

Const. art. 12 § 10(A)], La. Const. art. 1 § 26 makes it clear the State has not waived its sovereignty

within the federal system.”).

5.     Moreover, because the Court does not have original jurisdiction, this Court may not

exercise supplemental jurisdiction over the pendant state law claim pursuant to 28 U.S.C. § 1367.

See United States Oil Recovery Site Potentially Responsible Parties Grp. v. R.R. Comm'n of Texas,

898 F.3d 497, 503 (5th Cir. 2018).

6.     Additionally, because Plaintiff has only asserted a state law negligence claim against LSU

and because LSU is immune from suit in federal court on state law claims, this Court is deprived

of subject matter jurisdiction, and, thus, LSU may not be joined as a required party. See Fed. R.

Civ. P. 19(a)(1); see also Lee v. Learfield Commc'ns, LLC, 486 F. Supp. 3d 1041, 1051 (E.D. La.

2020)(“Because JSU is a required party who must be joined, but whose joinder would divest this

Court of subject matter jurisdiction, plaintiffs’ claims against defendants must be dismissed

pursuant to Rule 12(b)(7).”)

       WHEREFORE, Defendant Board of Supervisors of Louisiana State University and

Agricultural and Mechanical College prays that the Court grant this Motion to Dismiss based on

lack of subject matter jurisdiction.




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 Dated: August 10, 2022                             Respectfully submitted,

                                                    /s/ Christine S. Keenan
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                                                    COUNSEL FOR DEFENDANT,
                                                    BOARD OF SUPERVISORS OF LOUISIANA
                                                    STATE       UNIVERSITY        AND
                                                    AGRICULTURAL AND MECHANICAL
                                                    COLLEGE




                                           CERTIFICATE

        I hereby certify that I have, on this 10th day of August 2022, electronically filed the

foregoing with the Clerk of Court by using the CM/ECF system, which will send a notice of

electronic filing to all counsel of record in this case.



                                                           /s/ Christine S. Keenan
                                                           Christine S. Keenan




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